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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v                                       )   CR. NO. 2:11cr10-MHT
                                               )               WO
CARL HAWKINS, JR.                              )

              RECOMMENDATION OF THE MAGISTRATE JUDGE

       The defendant, Carl Hawkins, Jr., (“Hawkins”) is charged in a single count indictment

with possession with intent to distribute five kilograms or more of cocaine hydrochloride in

violation of 21 U.S.C. § 841(a)(1). On April 15, 2011, Hawkins filed a motion to sever.

(Doc. No. 33.) The court heard oral argument on the motion to sever on May 4, 2011. Upon

careful consideration of the motion, the Government’s response, and oral argument, the court

concludes that the motion to sever is due to be denied.

       Hawkins argues that severance is necessary because: (1) he would be prejudiced based

on a partial admission by the co-defendant; (2) the co-defendant’s statement would provide

a substantial risk of prejudice because Hawkins has no attachment to the truck or the bag

containing the contraband; (3) the written statements of the co-defendant are needed in

Hawkins’ case-in-chief as they exonerate him; (4) the co-defendant will have to testify in his

own trial to clarify his own statements to the police; (5) pursuant to Bruton v. United States,

391 U.S. 123 (1968), he is entitled to severance as to do otherwise would undermine his

ability to confront all witnesses against him as it is clear that the co-defendant would provide

testimony exculpating him; and (6) a jury may misconstrue evidence presented against the
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co-defendant which could be attributed to Hawkins and therefore prejudice him before the

jury, thereby forcing him to testify.

       The general rule in this Circuit is that defendants who are jointly indicted should be

tried together. United States v. Cobb, 185 F.3d 1193, 1197 (11 th Cir. 1999). However,

F ED.R.C RIM.P. 14(a) provides:

       If the joinder of offenses or defendants in an indictment, an information, or a
       consolidation for trial appears to prejudice a defendant or the government, the
       court may order separate trials of counts, sever the defendants’ trials, or
       provide any other relief that justice requires.

       A severance becomes necessary if, without a severance, a defendant would be unable

to receive a fair trial and he would suffer “compelling prejudice against which a trial court

could offer no protection.” United States v. Freyre-Lazaro, 3 F.3d 1496, 1501 (11 th Cir.

1993) (quoting United States v. Magdaniel-Mora, 746 F.2d 715, 718 (11 th Cir. 1984)). See

also United States v. Morales, 868 F.2d 1562, 1571 (11th Cir. 1989). A defendant must

demonstrate specific and compelling prejudice to justify severance. Cobb, 185 F.3d at 1197;

United States v. Meester, 762 F.2d 867, 883 (11th Cir. 1985). The standard for determining

compelling prejudice is whether the jury could compare and estimate the independent

evidence against the defendant on each count and reach individual verdicts as to each count.

United States v. Pirolli, 742 F.2d 1382, 1386 (11th Cir. 1984). See also United States v.

Silien, 825 F.2d 320, 323 (11 th Cir. 1987).

       Generally, there are four situations where severance may be required: “(1) [w]here the

Defendants rely upon mutually antagonistic defenses; (2) [w]here one Defendant would

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exculpate the moving defendant in a separate trial, but will not testify in a joint setting; (3)

[w]here inculpatory evidence will be admitted against one Defendant that is not admissible

against the other; and (4) [w]here a cumulative and prejudicial ‘spill over’ effect may prevent

the jury from sifting through the evidence to make an individualized determination as to each

Defendant.” United States v. Chavez, 584 F.3d 1354, 1360 (11 th Cir. 2009).

       In Zafiro v. United States, 506 U.S. 534 (1993), the Supreme Court set forth a two-step

test for determining whether a defendant is entitled to a new trial due to a district court's refusal

to sever prior to trial or to grant a mistrial once trial has commenced. First, a defendant must

demonstrate that he was somehow prejudiced by a joint trial. Id. at 538. However, the Court

clarified that “[m]utually antagonistic defenses are not prejudicial per se.” Id. The Court

specifically rejected the notion that defendants who have contradictory defenses are inherently

prejudiced simply because “a jury will conclude [either] that both defendants are lying and

convict them both on that basis, or that at least one of the two must be guilty without regard

to whether the Government has proved its case beyond a reasonable doubt.” Id. at 540.

       In this case, the co-defendant provided a statement to a deputy sheriff in which he

acknowledged ownership of the truck, a gun, and a duffel bag, but denied ownership of any

illegal narcotics inside the bag. Thus, the facts do not demonstrate that the co-defendant

provided any information to the officer which would either exculpate or inculpate Hawkins in

this case.   Therefore, there is nothing to suggest that the co-defendants have mutually

antagonistic defenses. Moreover, the Government’s evidence appears to be the same with



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respect to both defendants. Consequently, there would be little to no difference between the

evidence presented at a joint or separate trial.

       Hawkins’ argument that severance is necessary to permit exculpatory testimony of his

co-defendant is likewise unavailing.

               Where a defendant argues for severance on the ground that it
               will permit the exculpatory testimony of a co-defendant, he
               “must show: (1) a bona fide need for the testimony; (2) the
               substance of the desired testimony; (3) the exculpatory nature
               and effect of the desired testimony; and (4) that the codefendant
               would indeed [] testif[y] at a separate trial.” United States v.
               Machado, 804 F.2d 1537, 1544 (11th Cir. 1986); see also United
               States v. Harris, 908 F.2d 728, 739 (11th Cir. 1990); United
               States v. Martinez, 486 F.2d 15, 22 (5th Cir. 1973; Byrd v.
               Wainwright, 428 F.2d 1017, 1019-20 (5th Cir. 1970). Even if the
               defendant makes such a showing, the court must still “(1)
               examine the significance of the testimony in relation to the
               defendant’s theory of the case; (2) assess the extent of prejudice
               caused by the absence of the testimony; (3) consider judicial
               administration and economy; and (4) give weight to the
               timeliness of the motion.” Machado, 804 F.2d at 1544; accord
               United States v. Harris, 908 F.2d 728, 739 (11th Cir. 1990)
               (quoting United States v. DeSimone, 660 F.2d 532, 540 (5 th Cir.
               1981).


Cobb, 185 F.3d at 1197. See also United States v. Baker, 432 F.3d 1189, 1239 (11 th Cir.

2005); United States v. Novaton, 271 F.3d 968, 989 (11 th Cir. 2001); United States v. Beale,

921 F.2d 1412, 1428 (11 th Cir. 1991).

       The defendant has failed to make any showing that the co-defendant would testify at

a separate trial. This is not a case in which the co-defendant has proffered an affidavit

detailing his proposed testimony. See Novation, supra; United States v. Pepe, 747 F.2d 632,


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651 (11th Cir. 1984); United States v. DeSimone, 660 F.2d 532, 540 (5 th Cir. Unit B 1981).

In addition, the evidence does not indicate that the co-defendant’s testimony would be

exculpatory, especially in light of the codefendant’s denial that he was aware of the contraband

found in a duffel bag. The court also notes that Hawkins’ alternative argument that the co-

defendant would “have to testify” against him at a joint trial in order to clarify his statement is

based on nothing more than speculation. This court, therefore, cannot conclude that severance

is warranted due to the introduction of exculpatory co-defendant testimony.

        Hawkins must present “specific and exonerative facts” to justify severance, and this

he has not done. See Novaton, 271 F.3d at 990. He has provided the court with no factual

support from which the court could determine if there exists prejudice sufficient to warrant

separate trials. The mere “possibility” of prejudice is not enough. A defendant does not

incur compelling prejudice merely because he may be acquitted if he is tried separately or

because much of the trial evidence is applicable to her co-defendant. United States v.

Kabbaby, 672 F.2d 857, 861-62 (11th Cir. 1982) (per curiam). Finally, the trial of these

defendants is estimated to last three days so judicial administration and economy do not

weigh heavily in favor of or against severance.

       The defendant’s burden is a heavy one and “one which mere conclusory allegations

cannot carry.” United States v. Adams, 1 F.3d 1566, 1578 (11 th Cir. 1993). The court

concludes that Hawkins has failed to meet his burden because he provides insufficient

specific, exonerative facts to demonstrate that he is entitled to a severance.



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       Accordingly, for the reasons as stated, it is the RECOMMENDATION of the

Magistrate Judge that the motion to sever filed by Hawkins be DENIED. It is further

       ORDERED that the parties shall file any objections to the this Recommendation on

or before June 17, 2011.       A party must specifically identify the findings in the

Recommendation to which objection is made; frivolous, conclusive or general objections will

not be considered. Failure to file written objections to the Magistrate Judge’s proposed

findings and recommendations shall bar a party from a de novo determination by the District

Court of issues covered in the Recommendation and shall bar the party from attacking on

appeal factual findings accepted or adopted by the District Court except upon grounds of

plain error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See

Stein v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11 th Cir. 1981) (en banc).

       Done this 3rd day of June, 2011.




                                        /s/Charles S. Coody
                                   CHARLES S. COODY
                                   UNITED STATES MAGISTRATE JUDGE




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